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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ALLIE FOFANA
948 Mcdade Blvd.
Yeadon, PA 19050
CIVIL ACTION
Plaintiff, :
v. : No.:

SOUTI-IWEST AIRLINES CO.
d/b/a SOUTHWEST AIRLINES :
800 Essington Avenue : .]`URY TRIAL DEMANDED
Philadelphia, PA 19153 :

Defendant.

 

CIVIL ACTION COMPLAINT

Plaintiff, Allie Fofana (hereinaj?er referred to as “Plaintiff’), by and through his

undersigned counsel, hereby avers as follows:
INTRODUCTION

l. Plaintiff has initiated this action to redress violations by Southwest Airlines Co.
d/b/a Southwest Airlines (hereinafter “Defendant”) of Title VII of the Civil Rights Act of 1964
(“Title Vll” ~ 42 U.S.C. §§ 2000(d) etseq.), Section 1981 of the Civil Rights Act of 1866 (“Section
1981” - 42 U.S.C. § 1981), the Penrisylvania Hurnari Relations Act (“PHRA”), and the
Philadelphia Fair Practices Ordinance (“PFPO”).1 Plaintiff was unlawfully terminated by

Defendant, and he suffered damages more fully described/sought herein.

 

l Plaintiff’s claims under the PHRA and PFPO are referenced herein for notice purposes He is required to wait l full
year before initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file his lawsuit in
advance of same because of the date of issuance of his federal right-to-sue-letter under Title VII. Plaintiff‘s PHRA
and PFPO claims however will mirror identically his federal claims under Title VH.

 

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JURISDICTION AND VENUE

2. This Court has original subject matter jurisdiction over the instant action pursuant
to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks
redress for violations of federal laws.

3. This Court may properly assert personal jurisdiction over Defendant because its
contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over
Defendant to comply with traditional notions of fair play and substantial justice, satisfying the
standard set forth by the United States Supreme Court in Int’l Shoe Co. v. Washington, 326 U.S.
310 (1945), and its progeny.

4. Pursuant to 28 U.S.C. § l392(b)(l) and (b)(2), venue is properly laid in this district
because Defendant is deemed to reside where it is subjected to personal jurisdiction, rendering
Defendant a resident of the Eastern District of Pennsylvania.

5. Plaintiff is proceeding herein (in part) under Title Vll after properly exhausting all
administrative remedies with respect to such claims by timely filing a Charge of Discrimination
with the Equal Employment Opportunity Commission (“EEOC”) and by filing the instant lawsuit

within ninety (90) days of receiving a notice of dismissal and/or right to sue letter from the EEOC.

PARTIES
6. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
7. Plaintiff is an adult individual, with an address set forth in the captionl
8. Defendant is a major United States airline headquartered in Dallas, Texas, with

terminals in several states (including Pennsylvania). Plaintiff was hired through and Workcd at

Defendant’s Philadelphia lntemational Airport terminal with an address set forth in the caption

 

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9. At all times relevant herein, Defendant acted by and through its agents, servants
and employees, each of whom acted at all times relevant herein in the course and scope of their
employment with and for the Defendant

FACTUAL BACKGROUND

10. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

ll. Plaintiff is a black male from Africa (Sierra Leone).

12. Plaintiff was employed by Defendant as a ramp agent from in or about October of
2011 until his unlawful termination (as discussed injia) on or about October 3, 2018.

13. While employed with Defendant, Plaintiff was a hard-working employee who
performed his job well.

14. Toward the end of his tenure with Defendant, Plaintiff and two black (African) co-
worl<rers,2 Kani Amadou Meite (hereinaj?er “Meite”) and Ope l\/lolley (herez'na]?er “l\/lolley”), were
accused of violating Defendant’s travel/guest pass policy.

15. For example, Defendant has a rewards program for employees which awards them
travel/guest “passes,” i.e. the right to “nonrevenue travel” based on employee attendance and work

performance.3

16. Defendant allowed Plaintiff and other employees to have a certain number of

travel/guest passes to use for themselves or for certain classes of relatives and friends

 

2 Kani Amadou Meite and Ope Molley are ii‘om the African regions of the Ivory Coast and Liberia, respectively

3 Upon Plaintiff’s information and belief, taxes are subtracted from the original recipient’s paycheck before the original
recipient is able to redeem or transfer the travel/guest passes.

 

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17. Defendant has policies applicable to the misuse and/or abuse of employee travel
privileges known as the Employee Travel Privilege Policies (“ETPP”).

18. Defendant’ s guest pass policy prohibits the “confirmed sale or confirmed attempted
sale of any type of nonrevenue pass.”

19. Upon Plaintiff s information and belief, he, Meite and Molley were targeted
because of their race/national origin and Defendant’s travel/guest pass policy was selectively
enforced against them in a disparate manner.

20. For example, on or about September 27, 2018, Plaintiff was pulled from the
breal<room and informed by Defendant’s management that Defendant’s corporate representatives
and management needed to meet with him immediately to discuss travel/ guest passes.

21. Present at the September 27, 2018 meeting were Plaintiff; Defendant’s Security
Manager, Ann Marie Donalson (Caucasian, hereinafter “Donalson”); Senior Manager of Business
and Operations Services, Robert Dusseau (Caucasian, hereinafter “Dusseau”); Security
lnvestigator, Kayla Rolen (Caucasian, hereinafter “Rolen”); Station l\/lanager, l\/lerissa Kapelinsl<:i
(Caucasian, hereinafter “Kapelinski”); and union representative, Emory Marshall (African-
American, hereinaj?er “Marshall”).

22. During the September 27, 2018 meeting, Donalson informed Plaintiff that
Defendant was investigating travel/guest pass abuse and hostiler questioned Plaintiff as to how
he acquired travel/guest passes from co-workers, whether he had paid his supervisors or co-
workers for the travel/ guest passes, and if he was giving them to individuals outside of Defendant

23. In response to Donalson’s aforementioned questions at the September 27, 2018

meeting, Plaintiff informed her that: (l) he did not purchase or sell any travel/ guest passes; (2) any

 

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travel/guest passes given to him or his black (African) co-workers Were gifts; and (3) he gifted
travel/guest passes to family and friends for travel purposes

24. Donalson also asked Plaintiff if his friend’s cousin had purchased a travel/guest
pass from Plaintiff for 3100.00 to travel from Orlando, Florida to Phoenix, Arizona. Plaintiff
replied that he did not know what Donalson Was referring to as he had never requested or received
any money for any travel/passes that he received as gifts or gifted to friends or relatives

25 . After informing Donalson that he had never requested or received any money for a
travel/guest pass utilized by his friend’s cousin, Plaintiff inquired as to why Donalson was not
talking to the supervisors or co-workers (predominantly Caucasian) who had transferred passes to
him _ to which Donalson replied, “we are talking to you.”

26. On or about October 3, 2018, Plaintiff was provided with a notice from supervisor
Sean Burns (Caucasian, hereinaj?er “Burns”) stating that his attendance was required at a fact-
finding meetingl

27. At the fact-finding meeting on or about October 3, 2018, Bums provided Plaintiff
with a memorandum that stated Defendant had concluded that Plaintiff was “involved in the
buying and selling of Southwest Airline Guest Passes” and that his employment with Defendant
was “terrnirrated effective immediately.” Defendant’ s management immediately escorted Plaintiff
to retrieve his belongings and to leave Defendant’s premises

28. Plaintiff believes and therefore avers that Defendant’s purported reason for
terminating him _ that he was involved in the buying and selling of Defendant’ s travel/ guest passes
~ is completely pretextual because (l) Plaintiff was a hard-working employee who performed his
job well; (2) Plaintiff never bought or sold Defendant’s travel/guest passes; (3) while Plaintiff

contests buying or selling travel/guest passes, Defendant’s ETPP prohibits only the selling or

 

 

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attempted selling of guest passes; (4) Plaintiff and other African employees were treated
disparater because of race/national origin (as discussed supra); (5) upon Plaintiff’s information
and belief, Plaintiff s African co-workers, Meite and Molley, were terminated for allegedly having
committed the same or similar conduct for which Plaintiff was alleged to have committed and for
which he was terminated, and (6) other Caucasian employees who have committed the same or
similar conduct, for which Plaintiff was alleged to have committed and for which he was
terminated, have not been questioned, disciplined, suspended, or terminated.

29. Plaintiff believes and therefore avers that he was terminated because of his
race/national origin.

COUNT I
Violation of Title VII of the Civil Rights Act of 1964 §“Title VII”!
(Race/National Origin Discrimination)

30. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

31. During Plaintist employment with Defendant, he was subjected to discrimination
and disparate treatment with regard to Defendant’s policies and termination because of his
race/national origin.

32. Plaintiff was abruptly terminated on or about October 3, 2018, for pretextual
reasons.

33. Plaintiff believes and therefore avers that he was terminated because of his

race/national origin.

34. These actions as aforesaid constitute violations of Title VII.

 

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COUNT II
Violation of 42 U.S.C. Section 1981
(Racial Discrimirration)

35, The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

36. During Plaintiff" s employment with Defendant, he was subjected to discrimination
and disparate treatment with regard to Defendant’s policies and termination because of his race.

37. Plaintiff was abruptly terminated on or about October 3, 2018, for pretextual
reasons

38. Plaintiff believes and therefore avers that he was terminated because of his race.

39. These actions as aforesaid constitute unlawful discrimination under Section 1981.
WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendant is to promulgate and adhere to a policy prohibiting discrimination and
retaliation in the future against any employee(s);

B. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole
for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s
illegal actions, including but riot limited to back pay, front pay, salary, pay increases, bonuses,
insurance, benefits, training, promotions, reinstatement and seniority;

C. Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an
amount believed by the Court or trier of fact to be appropriate to punish Defendant for its willful,

deliberate, malicious and outrageous conduct and to deter Defendant or other employers from

engaging in such misconduct in the future;

 

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D. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper and appropriate (including but not limited to damages for emotional distress, pain, suffering
and hurniliation); and

E. Plaintiff is to be awarded the costs and expenses of this action and reasonable
attorney’s fees as provided by applicable federal and state law.

Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C.

 

Ari la §a/rpf, Esq.
3331 Street Rd.
Two Greenwood Square, Suite 128
Bensalem, PA 19020
(215) 639-0801
Dated: April 12, 2019

 

 

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IN THE UNITED STATES DISTRICT COURT
- FOR THE EASTERN DiSTRICT OF PENNSYLVANI.A

CA ENT ` G il F n

Allie Fofana CIVIL ACTION
_V.
Southwest Airiines Co. 'd/b/a Southwest Airlines; l ' NO_

in accordance with tire Civil Justice Expense and Delay Reduetion Plan of this court, counsel for
plaintiff shall complete a Case Management Traclc Dcsignation Fcrm in all civil cases at the time of
filing the complaint and serve a coply on ali defendants. (_See § 1203 ofthe plan set forth on the reverse
side of this form in the event at a defendant does not agree with the p(laintiff regarding said
designation that efendant shail, with its first appearance submit to the cler of court and serve orr
the plaintiff and all other parties, a Case Management Track_ Desigiiation_ Forrn specifying the track
_to which that defendant beiieves tire case should be assigned '

SELECT ONE Oli` THE FOLLOWING CASE MANAGEMENT TRACKSi
(a) Habeas Corpus » Cascs brought under ZB`U.S.C. § 2241 through § 2255. ( )

(b) Social Security ~ Cases requesting review of a decision ofthe Secretary ot`Health
and Human Services denying plaintiff Sooial Security Beneiits. _ ( )

(c) Arbitraiion - Cases required to be designated for arbitration under Local Civil Rule 5‘3».2.l ( `)

(d) Asbes`tos - Cases involving claims for personal injury or property damage frcni
exposure to asbestos ( )
(e) Spccial Manapement - Cases that do not fali into tracks (a) through (d) that are

commonly re erred to as complex and that need special or intense management by
the covert (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) _. ( )
(t) Standard llillariagernent - Cases that do not fail into any one of the other tracks tx j
4/12/2019 4=&` Plaintiff
Date Attorney-at-iaw Attorney for
m sr 639-caci m sr 639.4970 akai-pr@i<.amf-law.wm
Uephonc FAX Number E-Mall Address

{Civ. 650) 101'02

 

 

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UNITEI) sTATss I)ISTRICT COURT
non THE EASTERN olsTRIcT oF PENNsYLvANIA

DESIGNATION FORM
(to be used by counsel or pro .se plaintiff to indicate the category of the casefor the purpose of assrgnmenr to the appropriate calendar)

Address ofPlaintiH`: 948 McDade Blvd, Yeadon, PA 19050

 

Address of Defendant: 800 Essington Avcnue, Philadelphia, PA 19153

Place of Accidcnt, Incident or Transaction: Defendant's place of business

 

 

RELA TED CASE, IFANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

l. Is this case related to property included in an earlier numbered suit pending or within one year Yes |: No E
previously terminated action in this court‘?

2. Does this case involve the same issue of fact or grow out ofthe same transaction as a prior suit Yes E No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suitor any earlier Yes E . No
numbered case pending or within one year previously terminated action of this court?

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes E No
case filed by the same individual?

l certify that, to my knowledge, the within case I:l is / E] is not related to any case now pending or Withiu one year previously laminated action in
this court except as noted above.

DATE: 4/12/2019 - ~'”~*- ”`"` ARK2484 / 91533

 

 

"_ Anbaéy-ar-Law / am Se waran ` Armmey I.D. a (a'appnma:e)

 

 

ClVIL: (Plar:e a \! in one category only)

 

 

 

 

 

A. Federrr! Quesrion Cases.' B. Diver.rlh) Juri.rr!icrion Cases:
m l Indemnity Contract, Marine Contract, and All Other Contracts m l bisurance Contract and Other Contracts
l:l 2 FELA l:| 2 Airplane Personal Injury
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m 4 Antitrust [:l 4 Marinc'Pcrsoual lnjury

5 Patent |:| 5 Motor Vehiclc Pcrsonal Injury
E 6 Lahor-Management Relations 6 Other Pcrsonal Injury (Please specyj)):
m 7 Civil Rights E 7 Proclucts Liabili|:y
n 8 Habcas Colpus n 8 Proclucts Liability - Asbestos
E 9. Securities Act(s) Cases n 9. Al[ other Diversity Cases

10. Social Security Review Cases (P»'€GS€ SP€CI]§’)-'
|;| ll. All other Federal Question Cases

(Plea.se specyj;):
ARBITRATION CER'I`IFICATION
(T.¢‘ic eject oftlu`s certification is to remove the case from cligibi!t`ljvfor trrbitration.)

l, Ari R- Karpf , counsel of record or pro se plaintift`, do hereby certify:

 

Pursuant to Local Civil Rule 53,2, § 3(c ) (2), that to the best of my knowledge and bclief, the damages recoverable in this civil action case
exceed the sum of 3150,000.00 exclusive of interest and costs:

m Relici` other than monetary damages is soughtl

n:_ ..»¢--------»

DATE; 4/12/2019 ARK2484 / 91533

 

y bilfémey-at-Law /Pro Se Plaintiff Airorney I.D. # ({'fapp!i'cabl`e}

NOTE: A trial de novo will be a trial by jury only it"tliere has been compliance with F.R.C.P. 38.

 

car 609 (_nzms;

 

 

Case 2:19-Cv-01595 Document 1

is 44 (Rev. 06/17)

provided b local rules of court. This form, approved by the J udicial Conference of the

Filed 04/12/19 Page 11 of 11

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor sup£lement the filin
nited States in

and service of pleadings or other papers as required b law, except as
eptember 1974, is required for the use of the C eric of ourt for the

purpose 0 initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
FOFANA, ALLIE

(b) County of Residence of First Listed Plaintiff Delaware
(EXCEPTIN U.S. PLA!NT!FFCASES)

(C) Attorl'l€.y$ (Fr`rm Name, Addres_v. and Te!ep/rone Nrrmber)

Karpf, Karpf & Cerutti, P.C.; 3331 Street Road, Two Greenwood Square
Suite 128, Bensalem, PA 19020; (215) 639-0801; akarpf@karpf-law.com

DEFENDANTS
SOUTHWEST A]RLINES CO. d/b/a SOUTHWEST AIRLINES

County of Residence of First Listed Defendant Philadeiphia
([NUS PLA[NT.'FFCHSES ONLY}

IN LAND CONDEMNAT|ON CASES, USE THE L,OC'ATION OF
THE TRACT OF LAND INVOL\"ED.

NOTE:

Attorneys (.l'fKrwwn)

 

 

 

 

 

II. BASIS OF JURISDICTION [Pr'ace an "X" in One an Om'y) III. CITIZENSHIP OF PRINCIPAL PARTIES (.F.l'ace an "X" in One BoxforP/armg'f f
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V. ORIGIN (Pface an "X” in One Bax Om'y)

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VI. CAUSE OF ACTION

 

SC198

Cite the U.S. Civil Statute under which you are filin (Du not cire{r)¢rirdicrinnalsmrures unless diversi(y):

Title VII (42USC2000); Section 1981 (4

Br_ief description ofcause: _ _ _ y _ _ _ _
Vlolatlons of Title VIl, Sectlon 1981, Pennsylvanla Humen Relatrons Act and the Phlladelphla Falr Pract\ces Ordmance.

 

 

 

 

   

 

  

 

 
 

VII. REQUESTED IN 0 CHECK IF THIS lS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint
COMPLAINT: UNDER RULE 23, F-R-Cv-P- JURY DEMAND: XYes 'No
VIII. RELATED CASE(S)
lF ANY (S“ 1"“""““”""”`°)" JUDGE ooCKET NuMBER
DATE 4/12/2019 SIGNATURE 0 A;J , _ ______ _W
FOR OFF[CE USE ONLY
RECE[PT# JUDGE MAG. JUDGE

  

 

 

 

